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                                          ORDERED.
    Dated: October 27, 2020




                                   UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov

     In re                                                      )
                                                                )
     Don Karl Juravin,                                          )          Case No. 6:18-bk-06821-KSJ
                                                                )          Chapter 7
                      Debtor.                                   )
                                                                )
                                                                )
     Federal Trade Commission,                                  )
                                                                )
                                                                )
                      Plaintiff,                                )
                                                                )
     vs.                                                        )          Adversary No. 6:19-ap-00030-KSJ
                                                                )
     Don Karl Juravin,                                          )
                                                                )
                      Defendant.                                )
                                                                )

                                              FINAL JUDGMENT

             This adversary proceeding came on for trial on the Complaint filed by the Plaintiff, Federal

Trade Commission, against the Debtor/Defendant, Don Karl Juravin. 1 Consistent with the

Memorandum Opinion Finding Debt Not Dischargeable, simultaneously entered, it is




1
    The trial occurred on June 25 and 26, 2020, August 17 and 18, 2020.



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       ORDERED:

       1.      Judgment is entered in favor of the Plaintiff, Federal Trade Commission and against

the Debtor /Defendant, Don Karl Juravin.

       2.      The debt owed by Debtor/Defendant, Don Karl Juravin, to the Plaintiff, Federal

 Trade Commission under the Judgment entered by the United States District Court for the Middle

 District of Florida in Federal Trade Commission v. Roca Labs, Inc. et.al, Case No. 8:15-cv-2231-

 T-35TBM is not dischargeable under 11 U.S.C. § 523(a)(2)(A).

                                                       ###

The Clerk is directed to serve a copy of this order on all interested parties.




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